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                                 United States District Court
                            WESTERN DISTRICT OF WASHINGTON



    ME2 PRODUCTIONS, INC.,
                                                            JUDGMENT IN A CIVIL CASE
                 v.

    MADALYNN ALEXANDER, et al.                              CASE NUMBER: C17-694RSL




    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
    the jury has rendered its verdict.

X   Decision by Court. This action came to consideration before the Court. The issues have been
    considered and a decision has been rendered.
THE COURT HAS ORDERED THAT


    This action is DISMISSED without prejudice.




      August 16, 2017                                  William M. McCool
                                                       Clerk


                                      /s/Sharita Tolliver
                                      By, Deputy Clerk
